             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION
AMERICAN ALLIANCE FOR
EQUAL RIGHTS,
                                     Plaintiff,
       v.                                         No. 1:24-cv-128-DII

HIDDEN STAR,
                                   Defendant.
                      STIPULATION OF DISMISSAL
      Per Rule 41(a)(1)(A)(ii), the parties stipulate to the following:

      1.     Plaintiff filed this suit on February 5, 2024, challenging a program run by

Defendant called “Galaxy Grants.” See Dkt.1. That program awards winning business

owners cash prizes.

      2.     Contestants who want to get Galaxy Grants must “[a]gree to the Terms

and Conditions” on Defendant’s website. Galaxy Grants (archived Feb. 15, 2024)

perma.cc/N2JT-L9Q7. When Plaintiff sued, one of those terms and conditions stated

that contestants must be “a confirmable ethnic minority or female.” Terms & Conditions

(archived Feb. 15, 2024), perma.cc/B4NQ-XS4P. Defendant also stated elsewhere that

Galaxy Grants were available only to racial minorities and women. E.g., FAQs (archived

Feb. 16, 2024), perma.cc/C7AD-NR2S (“for minority and women owned businesses”);

Galaxy of Stars (archived May 16, 2021), tinyurl.com/54rmtxk6 (“Exclusively for Minor-

ity or Women owned businesses”); Galaxy of Stars (Mar. 9, 2021), tinyurl.com/4mf4y93h

(same); FAQs (“Who is eligible? All minority and women entrepreneurs and business


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owners.”); FundId, Galaxy Grants (archived Feb. 16, 2024), perma.cc/NR7T-8N6Z

(“Minority or Women entrepreneurs”).

      3.     According to Defendant’s counsel, Defendant did not (and will not) con-

sider race when determining who can apply for, or receive, Galaxy Grants. Once all

applications are received, grants are awarded based on a random-selection device. De-

fendant has agreed that it will continue to use a random selection device to award these

grants. Defendant did not (and will not in the future) consider or verify the race or sex

of applicants or winners.

      4.     Defendant will revise its terms and conditions to remove the statement

that the contest is open only to individuals who are “a confirmable ethnic minority or

female.”

      5.     Defendant will revise its FAQs to remove the phrase “for minority and

women-owned businesses” from the sentence “HOW CAN I HEAR ABOUT NEW

GALAXY GRANTS FOR MINORITY AND WOMEN OWNED BUSINESSES?”

It will also remove the Question “WHO IS ELIGIBLE?” along with the corresponding

Answer in the FAQs.

      6.     Defendant will delete its March 9, 2021 and May 16, 2021 Facebook posts

entitled “Free Grants to Grow Your Business.”

      7.     Defendant will request that FundID remove the phrase “Exclusively for

minority and women entrepreneurs” from its description on FundID’s website.




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         8.   Defendant will also revise its entry form to allow contestants to select

“prefer not to say” when asked for their race or ethnicity when applying for Galaxy

Grants.

         9.   This case is hereby dismissed, with both sides to bear their own fees and

costs.

 Dated: February 26, 2024                      Respectfully submitted,

  /s/ Gregg J. Costa                           /s/ Cameron T. Norris
  Gregg J. Costa                               Thomas R. McCarthy
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                                               Counsel for Plaintiff




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                        CERTIFICATE OF SERVICE
      I e-filed this stipulation, which will email everyone requiring service.

Dated: February 26, 2024                               /s/ Cameron T. Norris




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